     3:07-cv-03317-BGC # 44           Page 1 of 4
                                                                                         E-FILED
                                                      Wednesday, 04 November, 2009 06:56:51 PM
                                                                    Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS
                            SPRINGFIELD DIVISION

STEPHEN BLACK,                            )
                                          )
                             Plaintiff,   )
                                          )
         v.                               )         Docket No.: 07-3317
                                          )
SERGEANT BRIAN CAREY, 4054,               )         Magistrate Judge Bryon G. Cudmore
Correctional Division, Sangamon County )
Sheriff’s Department, Sangamon County, )
Illinois, M. CURRY, Officer, Correctional )
Division, Sangamon County Sheriff’s       )
Department, Sangamon County, Illinois,    )
SERGEANT GUY, 2567, Correctional          )
Division, Sangamon County Sheriff’s       )
Department, Sangamon County, Illinois,    )
NEIL WILLIAMSON , Sheriff, Sangamon )
County, Illinois and SANGAMON             )
COUNTY, ILLINOIS, a Body Politic,         )
                                          )
                             Defendants. )
                                          )
SERGEANT BRIAN CAREY,                     )
                                          )
                      Counter-Plaintiff,  )
                                          )
v.                                        )
                                          )
STEPHEN BLACK,                            )
                                          )
                      Counter-Defendant. )

   RESPONSE OF PLAINTIFF TO DEFENDANTS’ COUNTER-PLAINTIFF’S
                       MOTION IN LIMINE

       NOW COMES the Plaintiff-Counter-Defendant, STEPHEN BLACK, by and

through his counsel, Michael J. Costello, and for his Response to Defendants’ Counter-

Plaintiff’s Motion in Limine, respectfully states as follows:

       1.      Plaintiff agrees with paragraph 1.
     3:07-cv-03317-BGC # 44            Page 2 of 4



        2.      Plaintiff objects to paragraph 2 for the exclusion of the reason for his

arrest because it is part and partial of the ongoing transaction leading to the alleged injury

in this case.

        3.      Plaintiff objects to paragraph 3 in that the reference of the delinquency of

his child support is part and partial of the ongoing transaction leading to the alleged

injury in this case.

        4.      Plaintiff objects to paragraph 4 in that any reference to a criminal trial will

be necessary in the event of impeachment of parties during the trial because reference

must be made as to the statements under oath and when and how they were made.

Further, the insistence by the Defendants of criminal charges being brought are

admissible which demonstrates that they sought to protect themselves from this very

cause of action.

        5.      Plaintiff objects to paragraph 5 in that a reference that he was acquitted in

the criminal trial for the reasons referenced in paragraph 4, ibid. The criminal trial and his

acquittal are relevant.

        6.      Plaintiff objects to paragraph 6, to any reference of loss of income because

it is an element of damage in a cause under 28 U.S.C. § 1983, et. seq.

        7.      Plaintiff objects to paragraph 7 because any prior course of conduct

resulting in interference or improper action with an inmate’s rights shows a prior course

of conduct which is admissible in this cause.

        8.      Plaintiff objects to paragraph 8 in that the absence of a videotape is a fact

for the jury to consider because an inference can be made that the Defendants deliberately

violated the constitutional rights of the Plaintiff because they were operating in secret.




                                               2
     3:07-cv-03317-BGC # 44           Page 3 of 4



       9.      Plaintiff objects to paragraph 9 in that a taser is commonly called a cattle

prod by the general populous and the term is admissible.

       10.     Plaintiff objects to paragraph 10 to any reference to the failure to pay child

support because it is not a crime under the laws of South Carolina and the Court can take

judicial notice under full faith and credit to be given to laws of each State.

       11.     Plaintiff objects to paragraph 11 to the Defendants attempt to preclude

impeachment made in another proceeding which is contrary to the Federal Rules of

Evidence and legal authorities.

       12.     Plaintiff objects to paragraph 12 as to the exclusion of pain and symptoms

made by the Plaintiff because the testimony of the Plaintiff of the physical, emotional,

and mental condition is permissible in this cause of action involving excessive force.

       13.     Plaintiff agrees with paragraph 13.

       14.     Plaintiff agrees with paragraph 14; however, if any witnesses of the

Defendants testify contrary to establish policy or operation of a taser, the Plaintiff will

seek to impeach by the use of books and treatises on this subject.

                                               STEPHEN BLACK,
                                               Plaintiff-Counter-Defendant



                                               s/ Michael J. Costello
                                               Michael J. Costello Bar Number 522627
                                               Attorney for the Plaintiff
                                               Costello Law Office
                                               820 South Second Street, First Floor
                                               Springfield, Illinois 62704
                                               Telephone No.: (217) 544-5500
                                               Fax No.: (217) 544-7500
                                               costello.m@sbcglobal.net




                                              3
    3:07-cv-03317-BGC # 44          Page 4 of 4



                           CERTIFICATE OF SERVICE

         The undersigned does hereby certify that the foregoing document was served on
the following by electronic filing with the Clerk of the Court using the CM/ECF system
this 5th day of November, 2009.


D. Bradley Blodgett
Hinshaw & Culbertson, LLP
400 South Ninth Street, Suite 200
Springfield, Illinois 62701
bblodgett@hinshawlaw.com



                                           s/ Michael J. Costello
                                           Michael J. Costello Bar Number 522627
                                           Attorney for the Plaintiff
                                           Costello Law Office
                                           820 South Second Street, First Floor
                                           Springfield, Illinois 62704
                                           Telephone No.: (217) 544-5500
                                           Fax No.: (217) 544-7500
                                           costello.m@sbcglobal.net




                                          4
